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1                        UNITED STATES DISTRICT COURT
                    FOR THE CENTRAL DISTRICT OF CALIFORNIA
2
                               WESTERN DIVISION
3
     INTELLECTUAL VENTURES II                  Case No. CV 17-768-GW(3-:x)
4
     LLC,
5
                  Plaintiff,                   ORDER *5$17,1*8123326('
6
                                               027,21)2567$<$1'STAYING
     v.
7                                              ACTION PENDING RESOLUTION OF
     +21'$02725&2/7', et al.             PARALLEL ITC PROCEEDINGS
8
9
                  Defendants.
10
11
12                In light of the 8QRSSRVHG0RWLRQIRU0DQGDWRU\ Stay RI&DVH3XUVXDQW
13   WR86&D'RFNHW1R filed by Specially Appearing Defendants
14   +RQGD0RWRU&R/WG+RQGD1RUWK$PHULFD,QF$PHULFDQ+RQGD0RWRU&R
15   ,QF+RQGDRI$PHULFD0DQXIDFWXULQJ,QF+RQGD0DQXIDFWXULQJRI$ODEDPD
16   //&DQG+RQGD5	'$PHULFDV,QFthe 0RWLRQLV*5$17('DQGWKHabove-
17   captioned action is hereby STAYED pursuant to 28 U.S.C. §1659(a) until 30 days
18   after such time as the United States International TradeCommission’s determination
19   in the Section 337 investigation titled In the Matter ofCertain Thermoplastic-
20   Encapsulated Electric Motors, Components Thereof, andProducts and Vehicles
21   Containing Same II, Inv. No 337-TA-1073, becomes final.
22                The Court sets a status conference for September 27, 2018 at 8:30 a.m.
23   The parties are to file a joint status report by September 21, 2018.
24                IT IS SO ORDERED.
25
26   Dated: 'HFHPEHU1, 2017                        ____
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27                                                 GEORGE H. WU, U.S. District Judge
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